  Case 4:19-cv-00432-A Document 24 Filed 07/23/19   Page 1 of 10 PageID 362


                 IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF TEXAS
                          FORT WORTH DIVISION


THE BANK OF NEW YORK MELLON          §
TRUST COMPANY, NATIONAL             §
ASSOCIATION F/K/A THE BANK OF       §
NEW YORK TRUST COMPANY, N.A.,       §
                                                            JUL 2 3 2019
AS TRUSTEE FOR RESIDENTIAL          §
ASSET MORTGAGE PRODUCTS, INC.       §
MORTGAGE ASSET-BACKED               §                CLERK, U.S. DISTRICT COURT
PASS-THROUGH CERTIFICATES           §                  BY--.........k11u1,
                                                                      ------
SERIES 2006 - RP4,                  §
                                    §
           Plaintiff,               §
                                    §
vs.                                 §     NO. 4:19-CV-432 - A
                                    §
SHERRY LYNN HOLCOMB,                §
                                    §
           Defendant.               §


                           MEMORANDUM OPINION
                                   and
                                  ORDER

      Carne on for consideration the motion of plaintiff, The Bank

of New York Mellon Trust Company, National Association f/k/a The

Bank of New York Trust Company, N . A., as Trustee for Residential

Asset Mortgage Products,    Inc., Mortgage Asset-Backed Pass-Through

Certificates Series 2006-RP4, for default judgment against

defendant, Sherry Lynn Holcomb.         The court, having considered the

motion, the record, and the applicable authorities, finds that

the motion should be granted.
    Case 4:19-cv-00432-A Document 24 Filed 07/23/19                     Page 2 of 10 PageID 363


                                                    I.

                                             Background

        Plaintiff initiated this action by filing its original

complaint on May 28, 2019. Doc. 1 1. Plaintiff alleged:

        Defendant executed a Texas Horne Equity Note (the "Note")

promising to pay to the lender 2 $120,000 plus interest in monthly

installments. Id. at 2,                1 5; doc. 23 at 2. The Note provided that
defendant would be in default if she failed to pay the full

amount of each monthly payment on its due date. Doc. 23 at 3 .

Defendant also executed a Texas Horne Equity Security Instrument

 (the "Security Instrument") securing to the lender the repayment

of the debt evidenced by the Note and the performance of

defendant's obligations under the Note and Security Instrument.

Id. at 11. The Security Instrument defined the lender as any

ho lder of the Note who is entitled to receive payments under the

Note. Doc. 23 at 10. Plaintiff is t he current legal owner and

holder of the Note. Doc. 1 at 3,                        1 7 . By signing the Security




        'The --ooc. _ ·· references are to the numbers assigned to the referenced items on the docket in
this Case No. 4: I 9-CV-432-A.
        2
        The Note and Security Instrument ind icate that at the time those documents were executed, the
lender was John W. Stahl d/ b/a Cybernet Mortgage. Doc 23 at 2 & 9.

                                                    2
  Case 4:19-cv-00432-A Document 24 Filed 07/23/19   Page 3 of 10 PageID 364


Instrument, defendant conveyed to a trustee the following

property at 3916 Williams Road, Benbrook, Texas:

     LOT 7, BLOCK 5, WESTVALE ADDITION, FIRST FILING, AN
     ADDITION TO THE CITY OF BENBROOK, DALLAS COUNTY, TEXAS,
     ACCORDING TO THE MAP OR PLAT THEREOF RECORDED IN VOLUME
     388-9, PAGE 3, OF THE PLAT RECORDS OF TARRANT COUNTY,
     TEXAS. LOT 7, BLK 5, WESTVALE ADDITION

(the "Property") . Doc. 1 at 3, 1 6; doc. 23 at 11. The Security

Instrument requires defendant to pay when due the principal of

and interest on the debt evidenced by the Note and any late

charges due under the Note. Id. at      1   8; doc. 23 at 11. The

Security Instrument further provides, in essence, that if

defendant is in default and fails to cure the default after being

given appropriate notice, the lender may require immediate

payment of her debt and sell the Property. Doc. 23 at 20 . The

Security Instrument also entitles the lender to recover court

costs and attorney's fees incurred in pursuing those remedies .

Id. Defendant failed to make payments on the Note and failed to

comply with any and all of the Security Instrument's covenants

and conditions. Doc. 1 at 3, 1 10. Plaintiff's mortgage servicer,

Ocwen Loan Servicing, LLC ("Ocwen"), sent to defendant a Notice

of Default dated February 4, 2019, stating that certain mortgage

payments were past due and giving her until March 13, 2019, to

remit them. Doc. 23 at 28-29. After plaintiff failed to do so ,

Ocwen's counsel sent to defendant a Notice of Acceleration of


                                    3
      Case 4:19-cv-00432-A Document 24 Filed 07/23/19   Page 4 of 10 PageID 365


Loan Maturity dated May 17, 2019, demanding payment of all unpaid

principal and accrued interest on the Note.             Id. at 34.

         In its complaint, plaintiff brought causes of action for

declaratory judgment and foreclosure. Doc. 1 at 4-5. In the

complaint's prayer for relief, plaintiff requested a judgment

declaring that:

         (1) Borrower is in default on her obligations on the
         [Note and Security Instrument] and that (2) Plaintiff
         is the owner a nd holder of the Note, beneficiary of the
         Security Instrument and mortgagee, as defined under
         Texas Property Code section 51 . 0001; and (3) Plaintiff
         is authorized to enforce the power of sale in the
         Security Instrument through foreclosure of the Property
         pursuant to Texas Property Code section 51.002, the
         Note and Security Instrument, or alternatively,
         judicial foreclosure, and awarding attorney's fees
         [and] costs .

Id. at 5-6. Plaintiff requested attorney's fees as a further

obligation on the Note and not as a money judgment against

defendant. Id. at 5,       1   19.

        On July 10, 2019, plaintiff requested the clerk enter

default against defendant . Doc. 16 . On July 16, 2019, the clerk,

on the court's order and having concluded that defendant failed

to plead or otherwise defend as required by the Federal Rules of

Civil Procedure, entered default against defendant. Docs. 21               &


22.




                                        4
     Case 4:19-cv-00432-A Document 24 Filed 07/23/19   Page 5 of 10 PageID 366


                                        II.

                                     Analysis

A.      Applicable Legal Standard

        Rule 5 5 (b) ( 2) of the Federal Rules of Civil Procedure

provides that a plaintiff must apply to the court for a default

judgment, unless its claim is for a sum certain or a sum that can

be made certain by computation. Such a plaintiff is not entitled

to the entry of a default judgment; rather, the court has

discretion to grant or deny the plaintiff's motion. Lindsey v.

Prive Corp., 161 F . 3d 886, 893        (5th Cir. 1998). In deciding

whether to enter a default judgment, courts apply a three-part

test. See, e.g., J      &   J   Sports Prods., Inc. v. Morelia Mexican

Restaurant, Inc., 126 F . Supp. 3d 809, 813-14           (N .D. Tex. 2015)

First, the entry of default judgment must be procedurally

warranted. See Lindsey, 161 F.3d at 893. The following factors

are relevant to that determination:

       [1) whether material issues of fact are at issue, [2)
       whether there has been substantial prejudice, [ 3)
       whether the grounds for default are clearly
       established, (4) whether the default was caused by a
       good faith mistake or excusable neglect, (5) the
       harshness of a default judgment, and (6) whether the
       court would think itself obliged to set aside the
       default on the defendant's motion.

Id. Second, the pleadings must provide a sufficient basis for the

entry of a default judgment. Nishimatsu Const. Co., Ltd . v.

Houston Nat'l Bank, 515 F.2d 1200, 1206 (5th Cir. 1975). The

                                        5
     Case 4:19-cv-00432-A Document 24 Filed 07/23/19    Page 6 of 10 PageID 367


defendant, by her default, admits the plaintiff's well-pleaded

factual allegations, but not legal conclusions or factual

allegations that are not well-pleaded. Id. Third, courts

determine what form of relief, if any, the plaintiff should

receive . J     & J   Sports, 126 F. Supp. 3d at 814.          Rule 54(c) of

the Federal Rules of Civil Procedure provides that "[a) default

judgment must not differ in kind from, or exceed in amount, what

is demanded in the pleadings." Rule SS(b) (2) of the Federal Rules

of Civil Procedure gives the court "wide latitude" in determining

whether to hold an evidentiary hearing before entering a default

judgment . James v. Frame, 6 F.3d 307, 310             (5th Cir. 1993).

B.      Default Judgment Against Defendant Should Be Entered

        The court finds that a default judgment against defendant

for the requested declaratory relief and court costs should be

entered. First, the entry of a default judgment is procedurally

warranted. Defendant failed to answer or respond to plaintiff's

complaint, so there are no material issues of fact in dispute.

See J    &   J Sports, 126 F. Supp. 3d at 814 (citing Lindsey, 161

F.3d at 898; Nishimatsu,        515 F.2d at 1206). Plaintiff has been

prejudiced by defendant's failure to respond, which has brought

the adversary process to a halt. See id.; see also Sun Bank of

Ocala v. Pelican Homestead       &   Sav. Ass'n, 874 F.2d 274, 276        (5th

Cir. 1989). The grounds for default are clearly established: the


                                        6
    Case 4:19-cv-00432-A Document 24 Filed 07/23/19                         Page 7 of 10 PageID 368


record indicat es that defendant fa i led to answer o r respond to

plaintiff's complaint within the time required by the summons and

the Federal Rules of Civil Procedure. There is no indication in

the record that defendant's default is due to a good faith

mistake or excusable neglect. While the relief plaintiff requests

is significant, defendant's failure to make any appearance in

this action mitigates the harshness of a default judgment. See

J   & J    Sports, 126 F. Supp. 3d at 814. Nor does the court have any

reason to believe that it would have to set aside a default

judgment for any of the grounds listed in Rul e 60 {b) of the

Federal Rules of Civil Procedure.

          Second, plaintiff's allegations, admitted by defendant ' s

default, support granting such relief. The allegations indicate

that defendant is in default on her obligations under the No te

and Security Instrument and that plaintiff is the Note's owner

and holder and the Security Instrument's beneficiary. Those

allegations , in turn, suggest that plaintiff is the mortgagee as

defined in Section 51.0001(4) of the Texas Property Code. 3 The

Note and Security Instrument indicate that the Security




          'Section 5 1.000 l (4 ) o f the Texas Property Code defines --m ortgagee .. as .. (A) the grantee.
bene fic iary. owner, or ho lder ofa security instrument; (8 ) a book entry system: or (C) if the securi ty
interest has been ass igned of record, the last person to whom the security interest has been assigned of
record ."

                                                      7
  Case 4:19-cv-00432-A Document 24 Filed 07/23/19   Page 8 of 10 PageID 369


Instrument secures to plaintiff the Note's outstanding balance,

prejudgment and post-judgment interest at the rate of 9.150%, and

court costs . Moreover, the allegations indicate that plaintiff,

given defendant's default and failure to cure, has taken the

steps required by the Note, Security Instrument, and Section

51.002 of the Texas Property Code to be entitled to enforce the

Security Instrument's power of sale through foreclosure.

     Third, the court finds it appropriate to award plaintiff the

requested declaratory relief and court costs. The allegations and

evidence attached to the complaint provide ample basis for

awarding that relief without holding an evidentiary hearing.

However, the court is not granting plaintiff attorney's fees at

this time. Rule 54(d) (2) of the Federal Rules of Civil Procedure

generally requires that a claim for attorney's fees be made by a

motion that states, among other things, the amount sought or a

fair estimate of it . The rule contemplates that parties will not

make such requests until after judgment is entered and that such

requests will not be for amounts to be determined, but for

amounts disclosed or estimated in an appropriate motion . Because

none of those conditions has been met, the court is not awarding

plaintiff attorney's fees at this time, but the court recognizes

that plaintiff may seek attorney's fees by filing an appropriate




                                    8
  Case 4:19-cv-00432-A Document 24 Filed 07/23/19   Page 9 of 10 PageID 370


motion pursuant to Rule 54 (d) (2) of the Federal Rules of Civil

Procedure.

                                   III .

                                  ORDER

     The court ORDERS that plaintiff's motion for default

judgment be, and is hereby, granted, and that the court hereby

orders and declares:

     (1)     Defendant is in default on her obligations on the Note

             and Security Instrument;

     (2)     Plaintiff is the owner and holder of the Note,

             beneficiary of the Security Instrument, and mortgagee,

             as defined by Section 51.0001(4) of the Texas Property

             Code;

     (3)     The following are secured by the Security Instrument:

             (a) the outstanding balance of the Note;       (b)

             prejudgment interest at the Note's interest rate of

             9.150%;   (c) post-judgment interest at the Note's

             interest rate of 9 . 150% from the date of judgment until

             paid; and (d) costs of court;

     (3)     Plainti f f is authorized to enforce the power of sale in

             the Security Ins trument through foreclo s ure of the

             Property pursuant to Section 51 . 002 of the Texas

             Property Code, the Note, and the Security Instrument;


                                    9
Case 4:19-cv-00432-A Document 24 Filed 07/23/19   Page 10 of 10 PageID 371


    (4)   Plaintiff have and recover its costs of court from

          defendant; and

    (5)   Plaintiff is authorized to file a motion for attorney's

          fees pursuant to Rule 54 ( d ) ( 2) of the Federal Rules of

          Civil Procedure.

   SIGNED July 23, 2019.




                                  10
